                                                                                    FIT,ED
                                                                          UNITED STATES DISTRICT COURT
                                                                           ALBUQUERQUE, NEW MEXICO

                                                                                    JUN 0,9 2020
                         IN THE UNITED STATES DISTRICT COURT
                                                                              MITCHELL R. HLFERS
                      -:---EOR*TI{EDISTRICLOENETM:MEXICO- l]rEHK**
 TINITED STATES OF AMERICA,                     )
                                                )
                Plaintifl                       )       criminat Nr.   %" t3?0WA
                                                )
         vs.                                    )
                                                )       18 U.S.C. $$ 1152 and 113(a)(6): Assault
 JT]LIAN LUCAS GARCIA            III,           )       Resulting in Serious Bodilyk{ury.
                                                )
                 Defendant.                     )

                                        INDICTMENT
The Grand Jury charges:

       On or about July 4,    2}lg,in Indian Country, in Rio Arriba County, in the District of New

Mexico, the defendant, JULIAN LUCAS GARCIA lTt, assaulted Jane Doe, and the assault

resulted in serious bodily injury.

       In violation of 18 U.S.C. $$ 1152 and 113(a)(6).




                                                      A TRUE BILL:


                                                                 t5(
                                                      FOREPERSON OF TIIE GRAND JURY
